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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                   Criminal No. 09-cr-79-01-PB

Nagasaki Gonzalez

                                  O R D E R

     Defendant appeared for a bail revocation hearing pursuant to

18 U.S.C. § 3148.

     Defendant admits violating the condition requiring him to be

employed full time by the end of November 2008.                In fact, he

provided no evidence of any effort up to and including May 4,

2009.     After a verbal reprimand and an order to provide a list of

no less than ten efforts at employment per week, he failed to

consistently do that.       His last minute efforts to “paper the

file” are unavailing.       I find, by clear and convincing evidence,

that he violated his bail condition and is unlikely to abide by

conditions.     Given the failed opportunities to comply with

conditions I find that the defendant is unlikely to abide by any

condition or combination of conditions.           The conditions of

release are revoked.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.
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      The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.     The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                 On

order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.

                                  ___________________________________
                                  James R. Muirhead
                                  United States Magistrate Judge

Date: July 16, 2009

cc:    Jonathan R. Saxe, Esq.
       Arnold H. Huftalen, Esq.
       U.S. Marshal
       U.S. Probation




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